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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN

 JOSHUA MURRAY, individual and on
 Behalf of all others similarly situated,   Case No. 22-2-cv-11107 SFC-DRG

                Plaintiff,                  HON. SEAN F. COX
                                            Magistrate Judge David R. Grand
        v.

 NATIONAL ASSOCIATION OF                          NOTICE OF APPEARANCE
 REALTORS,                                        OF SUZANNE L. WAHL ON
                                                  BEHALF OF DEFENDANT
                Defendant.



       PLEASE TAKE NOTICE that SUZANNE L. WAHL, of the firm ArentFox

Schiff LLP has this day entered an appearance as counsel of record for Defendant,

NATIONAL ASSOCIATION OF REALTORS®.

Dated: August 4, 2022                         Respectfully submitted,

                                              /s/Suzanne L. Wahl
                                              Suzanne L. Wahl (P71364
                                              ARENTFOX SCHIFF LLP
                                              350 S. Main Street
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                                              (734) 222-1517
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                                              Attorneys for Defendant
                                              National Association of Realtors®
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                                  CERTIFICATE OF SERVICE

          The undersigned attorney hereby certifies that on August 4, 2022, the foregoing Notice of

Appearance of Suzanne L. Wahl on behalf of Defendant National Association of Realtors® was

electronically filed with the Clerk of the Court by utilizing the CM/ECF System, which will

provide electronic notification to all counsel of record.

                                                     /s/Suzanne L. Wahl
                                                     Suzanne L. Wahl
CH2:26248798.1
